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                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 ALEX MIKULSKI, derivatively on behalf of
 ALEXION PHARMACEUTICALS, INC.,
                                                      C.A. No. 17-1344-JEJ
         Plaintiff,

         vs.

 LEONARD BELL, DAVID L. HALLAL,
 DAVID R. BRENNAN, LUDWIG N.
 HANTSON, VIKAS SINHA, DAVID J.
 ANDERSON, CARSTEN THIEL, ALVIN S.
 PARVEN, ANDREAS RUMMELT, ANN M.
 VENEMAN, M. MICHELE BURNS,
 CHRISTOPHER J. COUGHLIN, JOHN T.
 MOLLEN, FELIX J. BAKER, R. DOUGLAS
 NORBY, WILLIAM R. KELLER, JOSEPH A.
 MADRI, and LARRY L. MATHIS,

         Defendants,

         and

 ALEXION PHARMACEUTICALS, INC.,

         Nominal Defendant.

                                             NOTICE


       Plaintiff hereby gives notice to the Court, all parties, and their Counsel of record that he

elects not to file an amended complaint pursuant to the Joint Stipulation and Order entered by the

Court on November 27, 2017 (D.I. 17) (“Order”), and shall proceed on the initial complaint filed

on September 22, 2017 (D.I. 1) (“Complaint”). The motion to dismiss, for which the Order sets

a briefing schedule, shall thus apply to the Complaint. Counsel for Defendants conferred with

counsel for Plaintiff, and they agree that the parties shall follow the briefing schedule set forth in

the Order.
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Dated: January 11, 2018                   Respectfully submitted,

Of Counsel:                               FARNAN LLP

THE ROSEN LAW FIRM, P.A.                  /s/ Brian E. Farnan
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